
ORDER
| Considering the Motion to Revoke Conditional Admission filed jointly by respondent and the Office of Disciplinary Counsel,
IT IS ORDERED that respondent’s conditional admission to the practice of law in the State of Louisiana be revoked, effective immediately. Respondent may not reapply for admission until he can demonstrate at least a one-year period of sobriety and compliance with the terms and conditions of a contract with the Lawyers Assistance Program. In the event respondent chooses to submit an application for readmission, it shall be filed with the Disciplinary Board, which shall appoint a hearing committee to take evidence and report to this court whether respondent should be readmitted to the bar and allowed to practice law in Louisiana. The Office of Disciplinary Counsel shall participate in the hearing and provide such information, evidence, and recommendations to the hearing committee as may be appropriate.
IT IS FURTHER ORDERED that respondent shall pay all costs associated with these proceedings.
FOR THE COURT:
/s/ Bernette J. Johnson
Justice, Supreme Court of Louisiana
